                                         Case 3:07-cv-05944-JST Document 4516 Filed 03/23/16 Page 1 of 1




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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE: CATHODE RAY TUBE (CRT)                      MDL No. 1917
                                        ANTITRUST LITIGATION
                                   8                                                       Case No. C-07-5944 JST

                                   9                                                       ORDER SHORTENING TIME TO FILE
                                        This Order Relates To:                             RESPONSES TO INDIRECT
                                  10                                                       PURCHASER PLAINTIFFS’ REQUEST
                                                                                           FOR CLARIFICATION AND
                                  11    ALL INDIRECT PURCHASER ACTIONS                     MODIFICATION
                                  12
Northern District of California
 United States District Court




                                  13          Indirect Purchaser Plaintiffs (“IPPs”) filed a request for clarification and modification of

                                  14   the Court’s order regarding Objectors Cooper and Scarpulla’s objection regarding ex parte

                                  15   communications and in camera review of billing records. ECF No. 4514. Because of the short

                                  16   timeline set out in the Court’s order, see ECF No. 4508, the deadline for filing responses to IPPs’

                                  17   request for clarification and modification needs to be shortened. Accordingly, the Court ORDERS

                                  18   any responses to IPP’s request for clarification and modification to be filed no later than March

                                  19   24, 2016.

                                  20          IT IS SO ORDERED.

                                  21   Dated: March 23, 2016
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                                                                                                     JON S. TIGAR
                                  23                                                           United States District Judge

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